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                                   2                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                   5    AMERICAN FEDERATION OF
                                        GOVERNMENT EMPLOYEES, AFL-CIO,
                                   6    et al.,                                             No. C 25-01780 WHA

                                   7                   Plaintiffs,

                                   8            v.                                          SCHEDULING ORDER
                                   9    UNITED STATES OFFICE OF
                                        PERSONNEL MANAGEMENT, et al.,
                                  10
                                                       Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13         This order amends the standard “Procedure in Actions for Review on an Administrative

                                  14    Record” laid out in Local Rule 16-5. Defendants must submit an “administrative record” by

                                  15    MAY 9, 2025, AT NOON. The parties must file any motion for summary judgment by JUNE 5,

                                  16    2025, AT NOON. Both sides shall file their motions simultaneously. Opposition will be due 14

                                  17    days later and replies seven days after that.

                                  18         Once the parties have had the benefit of seeing the “administrative record” as submitted,
                                  19    they should use their summary judgment motions to address anew the extent to which review

                                  20    should be limited to the “administrative record,” whether the “administrative record” submitted

                                  21    is complete, and whether there should be a pause in briefing to address those deficiencies.

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                                  23         IT IS SO ORDERED.

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                                  25    Dated: April 22, 2025

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                                                                                               WILLIAM ALSUP
                                  27                                                           UNITED STATES DISTRICT JUDGE
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